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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

    GOVERNMENT’S OPPOSED MOTION TO ENSURE THAT EXTRAJUDICIAL
         STATEMENTS DO NOT PREJUDICE THESE PROCEEDINGS

       Since the grand jury returned an indictment in this case, the defendant has repeatedly and

widely disseminated public statements attacking the citizens of the District of Columbia, the Court,

prosecutors, and prospective witnesses. Through his statements, the defendant threatens to

undermine the integrity of these proceedings and prejudice the jury pool, in contravention of the

“undeviating rule” that in our justice system a jury’s verdict is to “be induced only by evidence

and argument in open court, and not by any outside influence.” Sheppard v. Maxwell, 384 U.S.

333, 351 (1966) (quotations omitted). In accordance with the Court’s duty to “protect [its]

processes from prejudicial outside interferences,” id. at 363, the Government requests that the

Court take the following immediate measures to ensure the due administration of justice and a fair

and impartial jury: (1) enter a narrowly tailored order pursuant to Local Criminal Rule 57.7(c) that

restricts certain prejudicial extrajudicial statements; and (2) enter an order through which the Court

can ensure that if either party conducts a jury study involving contact with the citizens of this

District, the jury study is conducted in a way that will not prejudice the venire. The Government

obtained the defendant’s position from counsel for the defendant, and he opposes this motion.
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I.     Background

       As set forth in the indictment, after election day in 2020, the defendant launched a

disinformation campaign in which he publicly and widely broadcast knowingly false claims that

there had been outcome-determinative fraud in the presidential election, and that he had actually

won. ECF No. 1 at ¶¶ 2, 4. In service of his criminal conspiracies, through false public statements,

the defendant sought to erode public faith in the administration of the election and intimidate

individuals who refuted his lies. ECF No. 1 at ¶¶ 2, 28, 31-32, 42, 44, 74, 97, 100, 104, 111. The

defendant is now attempting to do the same thing in this criminal case—to undermine confidence

in the criminal justice system and prejudice the jury pool through disparaging and inflammatory

attacks on the citizens of this District, the Court, prosecutors, and prospective witnesses. The

defendant’s conduct presents a “substantial likelihood of material prejudice” to these proceedings,

and the Court can and should take steps to restrict such harmful extrajudicial statements. Gentile

v. State Bar of Nevada, 501 U.S. 1030, 1075 (1991).

       A. The Defendant Has a History of Inflammatory and Misleading Statements That
          He Knew or Should Have Known Would Cause Others to Harass and Harm
          Perceived Critics or Adversaries

       The defendant has an established practice of issuing inflammatory public statements

targeted at individuals or institutions that present an obstacle or challenge to him. In the period

between the presidential election on November 3, 2020, and the congressional certification

proceeding on January 6, 2021, the defendant trained his focus on the election system, including

election officials and other individuals carrying out civic duties to implement fair elections in

various states. As a result, the defendant engendered widespread mistrust in the administration of

the election, and the individuals whom he targeted were subject to threats and harassment.




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       Examples of this pattern, from the indictment and the Government’s investigation, include

the following:

   •                                                   whom the defendant specifically targeted
       on the social media platform Twitter because           had publicly stated that there was
       no evidence of election fraud.              See ECF No. 1, Indictment, ¶ 42;
       https://twitter.com/realDonaldTrump/status/1326525851752656898.              After     the
       defendant’s tweet,           observed an increase in the volume and severity of threats
       against him and his family. See House Select Committee to Investigate the January 6th
       Attack on the United States Capitol (“House Select Committee”), 6/13/22 Hr’g, at 1:47:14–
       1:47:43 (“After the President tweeted at me by name, calling me out the way that he did,
       the threats became much more specific, much more graphic, and included not just me by
       name but included members of my family by name, their ages, our address, pictures of our
       home. Just every bit of detail that you could imagine. That was what changed with that
       tweet.”). 1

   •                                                                                  during the
       2020 election, whose home address was listed on the internet and whose family was
       threatened with violence after the defendant and surrogates publicly derogated
       for certifying the election. See Exhibit 1 at 3-6.

   •                                                                           during the 2020
       election, who received threatening communications after            certified the election
       and the defendant issued public posts about them. See Exhibit 1 at 26-27 (


                       ).

   •                                                             who required additional police
       protection after the defendant targeted               on Twitter for
       rejecting one of the defendant’s election challenges. See Exhibit 1 at 41-44.

       The defendant knows that when he publicly attacks individuals and institutions, he inspires

others to perpetrate threats and harassment against his targets. On December 1, 2020, as the

defendant was fueling an intense national atmosphere of mistrust and anger regarding the election,

a Georgia election official held a widely televised press conference in which he pleaded with the


       1
        See https://january6th-benniethompson.house.gov/legislation/hearings/06132022-select-
committee-hearing.


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defendant to stop, stating that if he did not, “Someone’s going to get hurt, someone’s going to get

shot, someone’s going to get killed.” 2 The defendant did not stop. Instead, he continued—even

to the present—to attack individuals whom he knows already suffered threats and harassment as a

result of his words. For instance:

   •   On November 17, 2020, the defendant fired                  , his appointed director of the
       Department of Homeland Security’s Cybersecurity and Infrastructure Security Agency
       after       made statements assuring the public of the integrity of the election. See ECF
       No. 1 ¶ 11(d). Later that month, after      appeared on a news program and again stated
       publicly that the presidential election had been secure, the defendant attacked him on
       Twitter, and on November 30, an agent of the defendant publicly stated that         “should
       be drawn and quartered. Taken out at dawn and shot.” 3 This statement was so dangerous
       that the above-described Georgia election official mentioned it in his press conference
       when warning the defendant and others that such rhetoric would lead to violence. 4
       and his family received death threats and had to evacuate their home, and through a
       December 8, 2020 lawsuit put the defendant on explicit notice of the threats and harassment
       the defendant had caused. 5 The defendant continued to publicly attack          anyway.

   •   In 2020, the defendant and co-conspirators 6 spread false accusations of misconduct against
                       , a Georgia election worker, and                                      . As
       a result,                      were inundated by threats. See ECF No. 1 ¶ 26.
       subsequently described the pernicious threats and intimidation she endured as a result of
       these false allegations in an interview with the House Select Committee, which publicly
       released a transcript of the interview on December 29, 2022. See Select Committee Press



       2
          See NBC News, Georgia Secretary of State Press Conference (Dec. 1, 2020),
https://www.youtube.com/watch?v=nH9FnY0qvNI.
       3
          See CBC News, 60 Minutes (Nov. 29, 2020), https://www.cbsnews.com/news/election-
results-security-chris-krebs-60-minutes-2020-11-29/; Newsmax, Howie Carr Radio Show (Nov.
30, 2020).
       4
          See NBC News, Georgia Secretary of State Press Conference (Dec. 1, 2020),
https://www.youtube.com/watch?v=nH9FnY0qvNI.
       5
         See Case No. 484243V (Montgomery County, Maryland Circuit Court), Complaint (Dec.
8, 2020).
       6
        A court in this District recently entered a default judgment against one of the defendant’s
co-conspirators in a lawsuit filed against him by                         for his defamatory false
claims. See 21-cv-3354 (BAH), ECF No. 93, Order (Aug. 30, 2023).


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       Release, Release of Select Committee Materials (Dec. 29, 2022); 7 Select Committee
       Transcript at 8 (“Do you know how it feels to have the President of the United States to
       target you? The President of the United States is supposed to represent every American,
       not to target one. But he targeted me . . . a small-business owner, a mother, a proud
       American citizen who stood up to help Fulton County run an election in the middle of the
       pandemic. . . . And, lo and behold, when someone as powerful as the President of the United
       States eggs on a mob, that mob will come. They came for us with their cruelty, their threats,
       their racism, and their hats. They haven’t stopped even today.”). 8 Within ten days of the
       public release of             interview transcript, the defendant—despite the known threats
       the election worker had received, and the established falsity of the claims of misconduct—
       publicly attacked            again on Truth Social through a series of repeated false claims. 9

   •   Likewise, the defendant recently renewed attacks on former Georgia Lieutenant Governor
                       , whose harassment the defendant inspired in the aftermath of the election.
       In December 2020, after Georgia’s Governor and Lieutenant Governor rejected the
       defendant’s calls to appoint the defendant’s illegitimate electors in Georgia, the defendant
       issued a post labeling          a “Rino Never Trumper” who was “dumb or corrupt” and
       urged, “We need every great Georgian to call him out!”                                    See
       https://twitter.com/realDonaldTrump/status/ 1336148836495069185. Thereafter,
       reported, he received death threats. 10 Nonetheless, last month, on August 14, 2023, when
       it was publicly reported that          had been called to testify before a state grand jury in
       Fulton County, Georgia, the defendant posted on Truth Social that “[h]e shouldn’t” testify.
       See https://truthsocial.com/@realDonaldTrump/posts/110888087440060991.

The defendant continues these attacks on individuals precisely because he knows that in doing so,

he is able to roil the public and marshal and prompt his supporters. As he acknowledged in a

televised town hall on May 10, 2023, his supporters listen to him “like no one else.” 11


       7
         See https://january6th-benniethompson.house.gov/news/press-releases/release-select-
committee-materials-4.
       8
            https://january6th-benniethompson.house.gov/sites/democrats.january6th.house.gov/
files/20220531_                   .pdf.
       9
                         https://truthsocial.com/@realDonaldTrump/posts/109623460421938942;
https://truthsocial.com/@realDonaldTrump/posts/109623536630848334;
https://truthsocial.com/@realDonaldTrump/posts/109623623674619588.
       10
            MSNBC, Morning Joe, https://www.msnbc.com/morning-joe/watch/georgia-s-
lieutenant-governor-won-t-seek-reelection-turns-focus-to-gop-2-0-112276037799.
       11
         See CNN, Transcript of CNN’s Town Hall with Former President Donald Trump (May
11, 2023), https://www.cnn.com/2023/05/11/politics/transcript-cnn-town-hall-trump/index.html.


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       B. Since the Indictment, the Defendant Has Deployed Misleading and Inflammatory
          Statements About this Case to Undermine Confidence in the Justice System and
          Prejudice the Jury Pool

       The defendant made clear his intent to issue public attacks related to this case when, the

day after his arraignment, he posted a threatening message on Truth Social:




And he has made good on his threat. Since the indictment in this case, the defendant has spread

disparaging and inflammatory public posts on Truth Social on a near-daily basis regarding the

citizens of the District of Columbia, the Court, prosecutors, and prospective witnesses. Like his

previous public disinformation campaign regarding the 2020 presidential election, the defendant’s

recent extrajudicial statements are intended to undermine public confidence in an institution—the

judicial system—and to undermine confidence in and intimidate individuals—the Court, the jury

pool, witnesses, and prosecutors. Below are select examples of the defendant’s disparaging and

inflammatory Truth Social posts.

                 i. Posts Attacking, Undermining, and Attempting to Intimidate the Court and the
                    Jury Pool

       The defendant has posted repeated, inflammatory attacks on the judicial system, the Court,

and the citizens of the District of Columbia who comprise the jury pool in this case. The defendant

has made baseless claims—cited or inserted below—that the justice system is “rigged” 12 against

him; that the Court is “a fraud dressed up as a judge in Washington, D.C. who is a radical Obama



       12
            See https://truthsocial.com/@realDonaldTrump/posts/110857162338915853.


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hack” or is a “biased, Trump-hating judge”; 13 and that he cannot get a fair trial from the residents

of this “filthy and crime ridden” District that “is over 95% anti-Trump.” 14




       13
            See re-post of https://truthsocial.com/@marklevinshow/posts/110973488250507373;
https://truthsocial.com/@realDonaldTrump/posts/110980188106641474.
       14
            See https://truthsocial.com/@realDonaldTrump/posts/110823476578708544.


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                ii. Posts Attacking, Undermining, and Attempting to Intimidate Prosecutors

       Similarly, the defendant has posted false and disparaging claims regarding the Department

of Justice and prosecutors in the Special Counsel’s Office in an attempt to undermine confidence

in the justice system and prejudice the jury pool against the Government in advance of trial. In a

video posted to Truth Social, the defendant called the Special Counsel’s Office a “team of thugs.”15




       15
            See https://truthsocial.com/@realDonaldTrump/posts/110980188106641474.


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       Recently, the defendant has spread knowingly false accusations of misconduct against a

prosecutor in the Special Counsel’s Office working on the case in which the defendant was indicted

in the Southern District of Florida in June 2023, see United States v. Donald J. Trump, et al, Case

No. 9:23-cr-80101-AMC, ECF No. 30 at 1 (S.D. Fla. June 21, 2023), and connected those false

accusations to this case in the District of Columbia by calling the Court a “biased, Trump Hating

Judge,” as shown below. In his posts on this topic, the defendant repeatedly makes the knowingly

false claim that Special Counsel’s Office prosecutors went to the White House in advance of the

defendant’s June 2023 indictment for improper reasons.




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In fact, as the defendant well knows from the formal FBI FD-302 interview report and agent notes

that he received in discovery on June 21, 2023, in the Southern District of Florida case, on March

31, 2023, the Special Counsel’s Office prosecutor conducted a routine investigative interview of a

career military official at that official’s duty station—the White House. The defendant’s objective

in spreading a knowing lie to the contrary—including by re-posting others’ Truth Social posts

naming the prosecutor and repeating the lie 16—is an attempt to prejudice the public and the venire

in advance of trial.

        With that same goal, the defendant has posted misleading claims on Truth Social to

insinuate misconduct by the Special Counsel’s Office in pursuing ordinary court-approved process

or seeking the indictment in this case. Regarding a search warrant and non-disclosure order that

the Government received from the court consistent with the law, for instance, the defendant falsely

claimed that the Special Counsel’s Office broke into his former Twitter account 17 in a “major ‘hit’

on my civil rights” and queried whether the Special Counsel directed the Select Committee to


        16
            On August 28, the defendant re-posted a Truth Social post doing exactly this. See
https://truthsocial.com/@marklevinshow/110969978988667723.
        17
             See https://truthsocial.com/@realDonaldTrump/posts/110886100439412597.


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“DESTROY & DELETE all evidence.” 18 And on August 2, the defendant posted a quote alleging,

without any basis, that the indictment that a federal grand jury in this case returned had been

directed by the sitting president: “‘Joe Biden directed his Attorney General to prosecute his rival.

This is not an independent Justice Department, this is not an independent special counsel. This is

being directed by the Commander-in-Chief.” 19 Through such posts, the defendant is attempting

to submit his false and inflammatory claims to the public and jury pool outside of court, because

he knows that any such claims made before the Court in the form of motions to suppress or of

vindictive prosecution will fail because they must be supported by evidence—of which there is

none.

                iii. Posts Bolstering or Attacking and Attempting to Intimidate Witnesses

        The defendant has also posted publicly about individuals whom he has reason to believe

will be witnesses in this trial. For instance, on August 30, the defendant posted a video attacking

the former Attorney General of the United States, a potential witness in this case, on the very

subject of his testimony. 20 Steadily since indictment, the defendant has publicly bolstered certain

prospective witnesses in this case, while attacking others, in an effort to influence the public’s and

the jury pool’s impressions of potential witnesses outside of the courtroom. Examples of such

posts are below.




        18
             See https://truthsocial.com/@realDonaldTrump/posts/110860965885418709.
        19
             See https://truthsocial.com/@realDonaldTrump/posts/110823008009285486.
        20
             See https://truthsocial.com/@realDonaldTrump/posts/110980538393058556.


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       C. The Defendant’s Public Posts Regarding this Case are Reasonably Likely to
          Prejudice the Jury Pool

       The defendant’s relentless public posts marshaling anger and mistrust in the justice system,

the Court, and prosecutors have already influenced the public. For instance, on August 5, 2023,

an individual was arrested because she called the Court’s chambers and made racist death threats

to the Court that were tied to the Court’s role in presiding over the defendant’s case. See United

States v. Shry, Case No. 4:23-mj-1602, ECF No. 1 at 3 (Criminal Complaint) (S.D. Tex. August

11, 2023). In addition, the Special Counsel has been subject to multiple threats, and the specific

Special Counsel’s Office prosecutor that the defendant has targeted through recent, inflammatory

public posts has been subject to intimidating communications. Given the defendant’s history

described above and the nature of the threats to the Court and to the Government, it is clear that


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the threats are prompted by the defendant’s repeated and relentless posts. To the extent that the

defendant’s public posts reach the general public, they also reach the jury pool for this trial.

       In addition, if unfettered, the way that the defendant is known to use public statements to

intimidate individuals could affect potential jurors. A recent incident in this District illustrates the

potential issue. Last week, in a trial against a self-professed supporter of the defendant who

claimed to have been at the United States Capitol on January 6 because of the defendant’s tweets,

the jury sent the court a note expressing concern that the trial defendant (Fellows) might have

information about the identity of jurors. See United States v. Brandon Fellows, Case No. 21-cr-

83 (TNM) at ECF No. 141, Note (“We wanted to confirm that the defendent [sic] does not have

any personal information on individual jurors, since he was defending himself. Includes name,

address, etc.”). This demonstrates the need to protect potential jurors from fear of threats and

harassment that stem from the defendant’s disparaging and inflammatory public statements.

II.    The Court Should Ensure That Public Statements by the Defendant and His Agents
       Do Not Prejudice These Criminal Proceedings

       The defendant’s repeated, inflammatory public statements regarding the District of

Columbia, the Court, prosecutors, and potential witnesses are substantially likely to materially

prejudice the jury pool, create fear among potential jurors, and result in threats or harassment to

individuals he singles out. Put simply, those involved in the criminal justice process who read and

hear the defendant’s disparaging and inflammatory messages (from court personnel, to

prosecutors, to witnesses, to potential jurors) may reasonably fear that they could be the next

targets of the defendant’s attacks. To protect the due administration of justice in these proceedings

and ensure the impartiality of the venire, the Government proposes two narrowly tailored orders

that impose modest, permissible restrictions on prejudicial extrajudicial conduct by the parties and

counsel.



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       A. The Court Should Issue an Order Pursuant to Local Criminal Rule 57.7(c) That
          Prohibits Certain Narrowly Defined Statements

       The Court has recognized its “obligation to prevent what the Supreme Court called in

Sheppard v. Maxwell ‘a carnival atmosphere of unchecked publicity and trial by media rather than

our constitutionally established system of trial by impartial jury.’” 8/11/23 Hr’g Tr. at 71. To

fulfill that obligation, the Court may “take such steps by rule and regulation that will protect their

processes from prejudicial outside interferences,” including by “proscrib[ing] extrajudicial

statements by any lawyer, party, witness, or court official which divulge[s] prejudicial matters.”

Sheppard v. Maxwell, 384 U.S. 333, 361 (1966). Consistent with these principles, the Court should

enter an order pursuant to this District’s Local Criminal Rules imposing limited restrictions on

certain extrajudicial public statements by the parties and attorneys in this case.

       Local Criminal Rule 57.7 permits the Court, “[i]n a widely publicized or sensational

criminal case,” upon a motion or sua sponte, to “issue a special order governing such matters as

extrajudicial statements by parties, witnesses and attorneys likely to interfere with the rights of the

accused to a fair trial by an impartial jury.” LCrR 57.7(c); see also LCrR 57.7(b)(1), (3)

(prohibiting pre-trial, public statements by lawyers that might prejudice the due administration of

justice). Courts in this District have exercised their authority under Local Criminal Rule 57.7(c)

to issue orders restricting statements of counsel and parties in appropriate cases. See United States

v. Stone, No. 19-cr-18, ECF No. 36 at 3 (D.D.C. Feb. 15, 2019) (ordering, inter alia, attorneys to

“refrain from making statements to the media or in public settings that pose a substantial likelihood

of material prejudice to this case”); United States v. Butina, No. 18-cr-218, ECF No. 31 at 2

(D.D.C. Sept. 12, 2018) (ordering “all interested participants, in the matter, including the parties,

any potential witnesses, and counsel for the parties and witnesses . . . to refrain from making

statements to the media or in public settings that pose a substantial likelihood of material prejudice



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to this case”). Other jurisdictions are in accord. See United States v. Brown, 218 F.3d 415, 428

(5th Cir. 2000) (upholding district court order restricting extrajudicial statements, and reasoning

that the rationale of Gentile applies equally to attorneys and parties).

       The Government seeks a narrow, well-defined restriction that is targeted at extrajudicial

statements that present a serious and substantial danger of materially prejudicing this case. The

Government’s proposed order specifies that such statements would include (a) statements

regarding the identity, testimony, or credibility of prospective witnesses; and (b) statements about

any party, witness, attorney, court personnel, or potential jurors that are disparaging and

inflammatory, or intimidating. See Exhibit 2. The Government’s order also specifies that,

consistent with other clarifications in Local Criminal Rule 57.7, the order is not intended to

prohibit quotation or reference to public court records of the case or the defendant’s proclamations

of innocence. Id. This proposal is consistent with the permissible balance approved by the

Supreme Court in Gentile, 501 U.S. at 1074-75, and specific enough to provide adequate notice to

the parties and counsel of prohibited statements.

       The defendant’s past conduct, including conduct that has taken place after and as a direct

result of the indictment in this case, amply demonstrates the need for this order. As illustrated by

the examples discussed above, the defendant’s statements reasonably could have a material impact

on the impartiality of the jury pool while simultaneously influencing witness testimony. The

defendant’s repeated posts that he cannot receive a fair trial from this Court or from a jury of his

peers in this District are substantially likely to undermine confidence in the justice system, affect

the jury pool, or otherwise prejudice the due administration of justice. His misleading statements

regarding the Special Counsel’s Office and its investigation are designed to do the same. And his




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targeting of specific witnesses seeks to either bolster or impeach witnesses not before this Court

but instead in the court of public opinion before trial begins.

       A supplemental order that extends some of the prohibitions that apply to defense counsel

to the defendant himself is particularly warranted. Shortly after the indictment in this case was

unsealed, the defendant’s lead counsel began a series of lengthy and detailed interviews in which

he potentially tainted the jury pool by disseminating information and opinions about the case and

a potential witness and described in detail legal defenses that he plans to mount, including defenses

that may never be raised in court or that may be rejected by the Court before ever reaching the

jury. 21 Many of these statements by lead counsel violated Local Criminal Rule 57.7(b), which

prohibits attorneys from releasing public extrajudicial statements regarding, among other things,

“the identity, testimony, or credibility of prospective witnesses” and the “merits of the case or the

evidence in the case.” In the time since the Court admonished the parties and counsel at the hearing

regarding the motion for a protective order on August 11, 2023, see 8/11/23 Hr’g Tr. at 72, the

Government is unaware of lead counsel making any additional public statements of this nature.

The defendant, however, has persisted. The Court should therefore enter the order proposed by




       21
          See, e.g., CNN (August 1, 2023), https://www.youtube.com/watch?v=GW7Bixvkpc0;
NPR (August 2, 2023), https://www.npr.org/2023/08/02/1191627739/trump-charges-indictment-
attorney-jan-6-probe;             CNN                (August             6,           2023),
https://www.cnn.com/videos/politics/2023/08/06/sotu-lauro-full.cnn; ABC, This Week (August 6,
2023),      https://abcnews.go.com/ThisWeek/video/mike-pence-best-witnesses-trial-john-lauro-
102054360; NBC, Meet the Press (August 6, 2023), https://www.nbcnews.com/meet-the-
press/video/august-6-john-lauro-and-rep-jamie-raskin-190118469904; CBS, Face the Nation
(August 6, 2023), https://www.cbsnews.com/video/face-the-nation-lauro-phillips-krebs/; Fox,
Fox News Sunday (August 6, 2023), https://www.foxnews.com/video/6332525513112; CBS,
Face the Nation (August 6, 2023); For the Defense with David Oscar Marcus (August 6, 2023),
https://podcasts.apple.com/us/podcast/john-lauro-for-donald-j-
trump/id1536699806?i=1000623609326.


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the Government to ensure the defendant does not undermine the integrity of these proceedings by

disseminating statements defense counsel cannot make.

       B. The Court Should Issue an Order That Prohibits Contacting the Citizens of This
          District to Conduct Jury Studies Without First Notifying and Receiving
          Authorization from the Court

       The Court has already taken steps to protect the venire related to polling of prospective

jurors related to this case. At the status hearing on August 28, 2023, after the Government raised

the issue of jury studies, and the defense suggested they may “sooner rather than later” conduct

outreach to the jury pool to gather information for a potential change of venue motion, the Court

instructed the defendant to notify the Court ex parte before conducting any polling in the District

of Columbia in connection with a potential motion to change the trial venue. See 8/18/23 Hr’g Tr.

at 59-60. In so doing, the Court noted that such polling “might affect the same jury pool you are

claiming is not fair” and might “actually affect their ability to render a fair verdict by virtue of the

kinds of questions you’re asking, because questions can be phrased in all kinds of ways.” Id.

       Because of the potential prejudice that polling may cause, the Government respectfully

requests that the Court set forth a process to review efforts by either party to engage in contacts

with members of the jury venire in this District undertaken for the purpose of discussing case-

specific facts, including any pretrial survey, poll, focus group, or similar study (hereinafter, “jury

study”). 22 Specifically, the Court should (1) require either party to notify the Court before the

party—or any individual or entity acting at the party’s direction or under its control—undertakes

any jury study in this District; (2) require the completion of any such jury study no later than 30

days before jury selection begins; (3) require either party to submit the proposed questions and



       22
           At a later date, the Government intends to file a motion regarding other issues related to
the jury, including the use of a juror questionnaire.


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methodology ex parte for the Court’s review before undertaking any jury study; and (4) require

filing under seal of the name and address of each participant contacted in any jury study at least

two weeks before jury selection. A proposed order is attached as Exhibit 3.

       Such an order is consistent with the Court’s inherent authority to protect the “integrity and

fairness” of the judicial system through preventing “comments that are likely to prejudice the jury

venire.” Gentile, 501 U.S. at 1075. Though pretrial surveys are neither inherently suspect nor

uncommon in trial litigation, see Brewer v. Lennox Hearth Prods., LLC, 601 S.W.3d 704, 717

(Tex. 2020); see also Ellen Kreitzberg & Mary Procaccio-Flowers, The Law, Art & Science of

Selecting a Jury § 3:3 (2022) (noting the utility of pretrial surveys), courts nonetheless maintain

the authority to supervise and oversee their use. See United States v. Collins, 972 F.2d 1385, 1398

(5th Cir. 1992) (district court reviewed materials related to Government’s polling to determine

whether it had compromised the integrity of jury selection); Brewer v. Lennox Hearth Prod., LLC,

546 S.W.3d 866, 877 (Tex. App. 2018) (finding that pretrial surveys are “subject to review by the

presiding court in order to determine whether anything was done to compromise the integrity of

the jury selection process”), rev’d on other grounds, 601 S.W.3d 704 (Tex. 2020). If questions in

a pretrial survey are worded to advocate for a certain party’s position, or test the effectiveness of

a party’s message in addition to gathering information, they can have a potentially prejudicial

effect. See Brewer, 601 S.W.3d at 726 (“A campaign of disinformation, in whatever form,

undermines the sanctity of the judicial process and is inimical to the constitutional promise of a

fair and impartial jury trial.); cf. United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir. 1976)

(finding that the district court did not err in relying more on comprehensive voir dire than “a poll

taken in private by private pollsters and paid for by one side”).




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        To guard against the damage that a pretrial survey could inflict on the venire—whether

intentionally or not—this Court should exercise its inherent authority here. At least one district

court has a standing order that requires the parties to provide advance notification “[w]hen the

party decides that it will, or is likely to, commission” a pretrial mock trial, focus group, or similar

study of the jury venire. See The Honorable Ron Clark, E.D. Tex. Standing Order RC-47 (Aug.

11, 2010). An order of this type “do[es] not prohibit use of surveys as a litigation tool” but instead

“regulate[s] the practice . . . by (1) requir[ing] pretrial notice of intent to conduct such a study; (2)

requir[ing] disclosure . . . of the methodology; (3) temporally limit[ing] proximity to trial; and (4)

requir[ing] in camera submission of each participant’s name and address in advance of the pre-

trial conference.” Brewer, 601 S.W.3d at 726 (emphasis in original). The Government has

attached a proposed order that contains these features.

III.    Conclusion

        Consistent with its obligations to guard the integrity of these proceedings and prevent

prejudice to the jury pool, while respecting the defendant’s First Amendment rights, the Court

should enter the proposed orders imposing certain narrow restrictions on the parties’ public

statements regarding this case and governing any jury studies the parties may undertake.



                                                          Respectfully submitted,

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